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                                Exhibit
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                                                                         Gubarev et al. v. BuzzFeed, Inc. et al.
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DOCUMENT PRIVILEGE BASIS                DATE                  FROM                    TO                   CC                                DESCRIPTION
  NUMBER
1        Confidential source     1/11/2017            Greg Bensinger        Ken Bensinger                               Confidential communication containing information that
                                                                                                                        is protected from disclosure by the Reporter’s Privilege,
                                                                                                                        as defined in BuzzFeed's response to Plaintiffs'
                                                                                                                        Requests for Production.
2          Confidential source   1/26/2017-2/7/2017   Ken Bensinger         Confidential source                         Confidential communication containing information that
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3          Confidential source   Redacted             Ken Bensinger         Confidential source                         Confidential communication containing information that
                                                                                                                        is protected from disclosure by the Reporter’s Privilege.

4          Confidential source   Redacted             Ken Bensinger         Confidential source                         Confidential communication containing information that
                                                                                                                        is protected from disclosure by the Reporter’s Privilege.

5          Confidential source   1/26/2017            Ken Bensinger         N/A                                         Confidential communication containing information that
                                                                                                                        is protected from disclosure by the Reporter’s Privilege.

6          Confidential source   1/23/2017            Anthony Cormier       Heidi Blake                                 Confidential communication containing information that
                                                                                                                        is protected from disclosure by the Reporter’s Privilege.

7          Confidential source   1/23/2017            Heidi Blake           Anthony Cormier                             Confidential communication containing information that
                                                                                                                        is protected from disclosure by the Reporter’s Privilege.

8          Confidential source   1/23/2017            Anthony Cormier       Heidi Blake                                 Confidential communication containing information that
                                                                                                                        is protected from disclosure by the Reporter’s Privilege.

9          Confidential source   1/23/2017            Heidi Blake           Anthony Cormier                             Confidential communication containing information that
                                                                                                                        is protected from disclosure by the Reporter’s Privilege.

10         Confidential source   1/10/2017            Confidential source   Miriam Elder                                Confidential communication containing information that
                                                                                                                        is protected from disclosure by the Reporter’s Privilege.

11         Confidential source   1/10/2017            Miriam Elder          Confidential source                         Confidential communication containing information that
                                                                                                                        is protected from disclosure by the Reporter’s Privilege.

12         Confidential source   1/23/2017            Anthony Cormier       Miriam Elder                                Confidential communication containing information that
                                                                                                                        is protected from disclosure by the Reporter’s Privilege.




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  NUMBER
13       Confidential source     1/23/2017       Miriam Elder            Confidential source                         Confidential communication containing information that
                                                                                                                     is protected from disclosure by the Reporter’s Privilege.

14         Confidential source   1/24/2017       Confidential source     Miriam Elder                                Confidential communication containing information that
                                                                                                                     is protected from disclosure by the Reporter’s Privilege.

15         Confidential source   1/24/2017       Miriam Elder            Sheera Frenkel                              Confidential communication containing information that
                                                                                                                     is protected from disclosure by the Reporter’s Privilege.

16         Confidential source   1/24/2017       Sheera Frenkel          Miriam Elder                                Confidential communication containing information that
                                                                                                                     is protected from disclosure by the Reporter’s Privilege.

17         Confidential source   1/24/2017       Miriam Elder            Confidential source                         Confidential communication containing information that
                                                                                                                     is protected from disclosure by the Reporter’s Privilege.

18         Confidential source   1/24/2017       Confidential source     Miriam Elder                                Confidential communication containing information that
                                                                                                                     is protected from disclosure by the Reporter’s Privilege.

19         Confidential source   1/24/2017       Miriam Elder            Confidential source                         Confidential communication containing information that
                                                                                                                     is protected from disclosure by the Reporter’s Privilege.

20         Confidential source   1/23/2017       Stuart Millar           Janine Gibson                               Confidential communication containing information that
                                                                                                                     is protected from disclosure by the Reporter’s Privilege.

21         Confidential source   1/11/2017       Tom Namako              Mark Schoofs                                Confidential communication containing information that
                                                                                                                     is protected from disclosure by the Reporter’s Privilege.

22         Confidential source   1/11/2017       Mark Schoofs            Tom Namako                                  Confidential communication containing information that
                                                                                                                     is protected from disclosure by the Reporter’s Privilege.

23         Confidential source   1/11/2017       Tom Namako              Mark Schoofs                                Confidential communication containing information that
                                                                                                                     is protected from disclosure by the Reporter’s Privilege.

24         Confidential source   2/5/2017        Mark Schoofs            Mark Schoofs                                Confidential communication containing information that
                                                                                                                     is protected from disclosure by the Reporter’s Privilege.

25         Confidential source   1/17/2017       Alex Campbell           John Templon;                               Confidential communication containing information that
                                                                         Anthony Cormier;                            is protected from disclosure by the Reporter’s Privilege.
                                                                         Jeremy Singer-Vine


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DOCUMENT PRIVILEGE BASIS               DATE               FROM                     TO                   CC                                DESCRIPTION
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26       Confidential source     1/17/2017       John Templon            Alex Campbell          Anthony Cormier;     Confidential communication containing information that
                                                                                                Jeremy Singer-Vine   is protected from disclosure by the Reporter’s Privilege.

27         Confidential source   1/23/2017       Alex Campbell           John Templon;                               Confidential communication containing information that
                                                                         Anthony Cormier;                            is protected from disclosure by the Reporter’s Privilege.
                                                                         Jeremy Singer-Vine
28         Confidential source   1/23/2017       Anthony Cormier         Alex Campbell          John Templon         Confidential communication containing information that
                                                                                                Jeremy Singer-Vine   is protected from disclosure by the Reporter’s Privilege.

29         Confidential source   1/25/2017       Alex Campbell           John Templon;                               Confidential communication containing information that
                                                                         Anthony Cormier;                            is protected from disclosure by the Reporter’s Privilege.
                                                                         Jeremy Singer-Vine
30         Confidential source   1/25/2017       Jeremy Singer-Vine      Alex Campbell          John Templon;        Confidential communication containing information that
                                                                                                Anthony Cormier      is protected from disclosure by the Reporter’s Privilege.

31         Confidential source   1/27/2017       Alex Campbell           Jeremy Singer-Vine                          Confidential communication containing information that
                                                                                                                     is protected from disclosure by the Reporter’s Privilege.

32         Confidential source   1/27/2017       Jeremy Singer-Vine      Alex Campbell                               Confidential communication containing information that
                                                                                                                     is protected from disclosure by the Reporter’s Privilege.

33         Confidential source   1/27/2017       John Templon            Anthony Cormier;                            Confidential communication containing information that
                                                                         Jeremy Singer-Vine;                         is protected from disclosure by the Reporter’s Privilege.
                                                                         Alex Campbell
34         Confidential source   1/27/2017       John Templon            Anthony Cormier;                            Confidential communication containing information that
                                                                         Jeremy Singer-Vine;                         is protected from disclosure by the Reporter’s Privilege.
                                                                         Alex Campbell
35         Confidential source   1/27/2017       John Templon            Anthony Cormier;                            Confidential communication containing information that
                                                                         Jeremy Singer-Vine;                         is protected from disclosure by the Reporter’s Privilege.
                                                                         Alex Campbell
36         Confidential source   1/27/2017       John Templon            Anthony Cormier;                            Confidential communication containing information that
                                                                         Jeremy Singer-Vine;                         is protected from disclosure by the Reporter’s Privilege.
                                                                         Alex Campbell
37         Confidential source   1/10/2017       Ben Smith               Confidential source                         Confidential communication containing information that
                                                                                                                     is protected from disclosure by the Reporter’s Privilege.

38         Confidential source   1/11/2017       Confidential source     Ben Smith              Ali Watkins          Confidential communication containing information that
                                                                                                                     is protected from disclosure by the Reporter’s Privilege.



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39       Confidential source     1/17/2017       Ben Smith               Confidential source    Kate Nocera          Confidential communication containing information that
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40         Confidential source   1/17/2017       Confidential source     Ben Smith              Kate Nocera          Confidential communication containing information that
                                                                                                                     is protected from disclosure by the Reporter’s Privilege.

41         Confidential source   2/1/2017        Ali Watkins             Ben Smith                                   Confidential communication containing information that
                                                                                                                     is protected from disclosure by the Reporter’s Privilege.

42         Confidential source   2/1/2017        Ben Smith               Ali Watkins                                 Confidential communication containing information that
                                                                                                                     is protected from disclosure by the Reporter’s Privilege.

43         Confidential source   1/23/2017       Ben Smith               Stuart Millar;         Ken Bensinger;       Confidential communication containing information that
                                                                         Anthony Cormier;       Mark Schoofs;        is protected from disclosure by the Reporter’s Privilege.
                                                                         Heidi Blake            Miriam Elder;
                                                                                                Jessica Garrison
44         Confidential source   1/23/2017       Heidi Blake             Ben Smith              Ken Bensinger;       Confidential communication containing information that
                                                                                                Mark Schoofs;        is protected from disclosure by the Reporter’s Privilege.
                                                                                                Miriam Elder;
                                                                                                Stuart Millar;
                                                                                                Jessica Garrison;
                                                                                                Anthony Cormier
45         Confidential source   1/23/2017       Ben Smith               Meredith Kennedy                            Confidential communication containing information that
                                                                                                                     is protected from disclosure by the Reporter’s Privilege.

46         Confidential source   1/23/2017       Ben Smith               Heidi Blake            Ken Bensinger;       Confidential communication containing information that
                                                                                                Mark Schoofs;        is protected from disclosure by the Reporter’s Privilege.
                                                                                                Miriam Elder;
                                                                                                Stuart Millar;
                                                                                                Ariel Kaminer;
                                                                                                Jessica Garrison;
                                                                                                Anthony Cormier




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47       Confidential source     1/23/2017       Stuart Millar           Ben Smith              Ken Bensinger        Confidential communication containing information that
                                                                                                Mark Schoofs         is protected from disclosure by the Reporter’s Privilege.
                                                                                                Miriam Elder
                                                                                                Stuart Millar
                                                                                                Ariel Kaminer
                                                                                                Jessica Garrison
                                                                                                Anthony Cormier
                                                                                                Heidi Blake
48         Confidential source   1/23/2017       Ben Smith               Miriam Elder                                Confidential communication containing information that
                                                                                                                     is protected from disclosure by the Reporter’s Privilege.

49         Confidential source   1/23/2017       Miriam Elder            Stuart Millar          Ben Smith;           Confidential communication containing information that
                                                                                                Ken Bensinger;       is protected from disclosure by the Reporter’s Privilege.
                                                                                                Mark Schoofs;
                                                                                                Ariel Kaminer;
                                                                                                Jessica Garrison;
                                                                                                Anthony Cormier;
                                                                                                Heidi Blake
50         Confidential source   1/23/2017       Miriam Elder            Ben Smith                                   Confidential communication containing information that
                                                                                                                     is protected from disclosure by the Reporter’s Privilege.

51         Confidential source   1/23/2017       Anthony Cormier         Ben Smith              Ken Bensinger;       Confidential communication containing information that
                                                                                                Mark Schoofs;        is protected from disclosure by the Reporter’s Privilege.
                                                                                                Miriam Elder;
                                                                                                Stuart Millar;
                                                                                                Ariel Kaminer;
                                                                                                Jessica Garrison;
                                                                                                Heidi Blake
52         Confidential source   1/23/2017       Miriam Elder            Anthony Cormier        Ben Smith;           Confidential communication containing information that
                                                                                                Ken Bensinger;       is protected from disclosure by the Reporter’s Privilege.
                                                                                                Mark Schoofs;
                                                                                                Stuart Millar;
                                                                                                Ariel Kaminer;
                                                                                                Jessica Garrison;
                                                                                                Anthony Cormier




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  NUMBER
53       Confidential source     1/23/2017            Heidi Blake           Miriam Elder           Ben Smith;           Confidential communication containing information that
                                                                                                   Ken Bensinger;       is protected from disclosure by the Reporter’s Privilege.
                                                                                                   Mark Schoofs;
                                                                                                   Stuart Millar;
                                                                                                   Ariel Kaminer;
                                                                                                   Jessica Garrison;
                                                                                                   Heidi Blake
54         Confidential source   1/23/2017            Miriam Elder          Heidi Blake            Ben Smith;           Confidential communication containing information that
                                                                                                   Ken Bensinger;       is protected from disclosure by the Reporter’s Privilege.
                                                                                                   Mark Schoofs;
                                                                                                   Stuart Millar;
                                                                                                   Ariel Kaminer;
                                                                                                   Jessica Garrison;
                                                                                                   Anthony Cormier
55         Confidential source   1/23/2017            Anthony Cormier       Heidi Blake            Ben Smith;           Confidential communication containing information that
                                                                                                   Ken Bensinger;       is protected from disclosure by the Reporter’s Privilege.
                                                                                                   Mark Schoofs;
                                                                                                   Miriam Elder;
                                                                                                   Stuart Millar;
                                                                                                   Ariel Kaminer;
                                                                                                   Jessica Garrison
56         Confidential source   1/26/2017            Miriam Elder          Ken Bensinger          Ben Smith; Anthony   Confidential communication containing information that
                                                                                                   Cormier              is protected from disclosure by the Reporter’s Privilege.

57         Confidential source   1/10/2017            Confidential source   Aram Roston                                 Confidential communication containing information that
                                                                                                                        is protected from disclosure by the Reporter’s Privilege.

58         Confidential source   1/3/2017             Ken Bensinger         Heidi Blake                                 Confidential communication containing information that
                                                                                                                        is protected from disclosure by the Reporter’s Privilege.

59         Confidential source   1/17/2017            Miriam Elder          Alberto Nardelli                            Confidential communication containing information that
                                                                                                                        is protected from disclosure by the Reporter’s Privilege.

60         Confidential source   1/4/2017             Miriam Elder          Ali Watkins                                 Confidential communication containing information that
                                                                                                                        is protected from disclosure by the Reporter’s Privilege.

61         Confidential source   1/4/2017-1/12/2017   Mark Schoofs          Ali Watkins                                 Confidential communication containing information that
                                                                                                                        is protected from disclosure by the Reporter’s Privilege.



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